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UNITED STATES BANKRUPTCY COURT                                               Form E: Joint Status Report
FOR THE DISTRICT OF RHODE ISLAND                                             THREE PAGE DOCUMENT
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
In re: Steven W. DePasquale                                            BK No. 19-10189
                                        Debtor(s)              :       Chapter 7
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                              JOINT LOSS MITIGATION STATUS REPORT

Date: May 21, 2019

   The Debtor(s) requested loss mitigation as to the first mortgage on the real property located at
266 Howard Avenue, Hope, RI 02831 on March 27, 2019 with Caliber Home Loans, Inc. (the
“Creditor”). The Court entered a loss mitigation order on: April 2, 2019. The Creditor filed its
contact information on April 2, 2019. The Debtor(s) submitted a loan modification application to
the Creditor on: Approximately three weeks ago.

          The first scheduled status hearing is May 22, 2019.

Actions Required:

N/A

Did the Debtor(s) comply with all ordered deadlines? If No, provide a full explanation of why
the deadlines were not met.

-Counsel for Debtor has indicated that an application was submitted directly to Creditor
approximately three weeks ago.

Did the Creditor comply with all ordered deadlines? If No, provide a full explanation of why the
deadlines were not met.

-Counsel for Creditor has confirmed receipt of the application and has requested additional
documents on May 21, 2019.

Outstanding Document Request:

The following documents requested by Lender will be submitted by the Debtor(s) to the Creditor
by_________:



    Expected Completion of Loss Mitigation – If Trial Plan or Loan Modification Agreed To

Please indicate as applicable:

                                                                   1
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The Debtor(s) is/are currently participating in a trial payment plan period with the final trial
payment scheduled to be paid on ______; OR

The parties have agreed to a permanent or temporary loan modification. _______

If a Chapter 7 case and the parties have agreed to a permanent or temporary loan modification:

       The parties agree that loss mitigation can terminate as successfully completed and will
       file Form D by__________; or

       __________ is the date by which loss mitigation can terminate as successfully completed
       and the parties will file Form D by ____________.

If the case is pending under Chapter 13 and a loan modification has been agreed to, the parties
agree to file a Motion to Approve Loan Modification by ________, and upon approval of such
motion, the parties will file Form D and loss mitigation can terminate as successfully completed.


                                           Consent Order

The parties _____________attached1a proposed Consent Order (Form F) setting forth agreed
deadlines for further action by the parties to accompany this Status Report.

Debtor(s)                                                     Creditor
By counsel:                                                   By counsel:

 /s/ Peter J. Furness                                         /s/ Joseph M. Dolben
 Peter J. Furness, Esq. (#)                                   Joseph M. Dolben (#7916)
Richardson, Harrington & Furness                              Marinosci Law Group, P.C.
182 Waterman Street                                            275 West Natick Road, Suite 500
Providence, RI 02906                                          Warwick, RI 02886
(401) 273-9600                                                Phone: (401) 234-9200




1
 When filing the Status Report and proposed Consent Order in ECF, Form F should be filed as
an attachment to Form E using the event Loss Mitigation Status Report [located under
Bankruptcy>Loss Mitigation menu].

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